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                IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA
________________________________________
                                           )
KELLY EASTER                               )
610 S. 14 St.
         th                                )
Nashville, TN 37206,                       )
                                Plaintiff, )
                    v.                     )
                                           )
UNITED STATES DEPARTMENT OF
                                           )
HEALTH AND HUMAN SERVICES,
                                           )
200 Independence Avenue, S.W.
                                           )
Washington, D.C. 20201;
                                           )
XAVIER BECERRA, in his official            ) Civil Action No. ______________
capacity as Secretary of the UNITED        )
STATES DEPARTMENT OF HEALTH                ) COMPLAINT FOR
AND HUMAN SERVICES,                        ) DECLARATORY AND
200 Independence Avenue, S.W.,             ) INJUNCTIVE RELIEF
Washington, D.C. 20201;                    )
ADMINISTRATION FOR CHILDREN                )
AND FAMILIES,                              )
330 C Street, S.W.,                        )
Washington, D.C. 20201;                    )
                                           )
JOOYEUN CHANG, in her official
capacity as Acting Assistant Secretary for )
the ADMINISTRATION FOR                     )
CHILDREN AND FAMILIES,                     )
330 C Street, S.W.,                        )
Washington, D.C. 20201;                    )
OFFICE OF REFUGEE                        )
RESETTLEMENT,                            )
330 C Street, S.W.,                      )
Washington, D.C. 20201; and              )
                                         )
CINDY HUANG, in her official capacity
                                         )
as Director of the OFFICE OF
                                         )
REFUGEE RESETTLEMENT,
                                         )
330 C Street, S.W.,
                                         )
Washington, D.C. 20201,
                                         )
                          Defendants.
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                                    Introduction

      1.     Each year, tens of thousands of refugee children who have no lawful

immigration status in the United States are referred to the Office of Refugee

Resettlement within the U.S. Department of Health and Human Services to provide

for their care and physical custody, as well as to find suitable sponsors (i.e., parents,

guardians, relatives, or individuals designated by the child’s parents) for them. To

meet this uniquely governmental obligation, the federal government turns to outside

organizations for taxpayer-funded services—including placing these children with

suitable foster parents in the interim—to ensure that the best interests of the

children are met.

      2.     Some of these organizations, however, provide taxpayer-funded foster-

placement services on the federal government’s behalf in a discriminatory manner

that categorically excludes lesbian, gay, and bisexual people from participating as

prospective foster parents. They contend that the organizations’ religious beliefs

justify denying lesbian, gay, and bisexual people from participating equally in the

government program that the agencies receive taxpayer funds to administer. Plaintiff

Kelly Easter is one of the many people who are subjected to the sting of discrimination

and deprived of the opportunity to participate in a federal program for refugee

children on the same terms as other prospective foster parents.

      3.     The United States Constitution constrains the government by requiring

freedom without favor and equality without exception in performing its functions.

And what the government cannot do directly, it may not do indirectly. Thus, Kelly


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Easter brings this suit to seek declaratory and injunctive relief against the federal

officials responsible for sanctioning and ratifying unlawful discrimination in the

administration of the government’s Unaccompanied Children (UC) Program.


                                Jurisdiction and Venue

      4.      This case arises under the Constitution of the United States and

presents federal questions within this Court’s jurisdiction pursuant to 28 U.S.C.

§ 1331.

      5.      This Court has jurisdiction to grant the requested declaratory and

injunctive relief under 28 U.S.C. §§ 2201 and 2202, Federal Rules of Civil Procedure

57 and 65, and the inherent equitable powers of the Court.

      6.      Venue is proper in this District:


                 pursuant to 28 U.S.C. § 1391(e)(1), because Defendants are officers

                  or employees of an agency of the United States in their official

                  capacities, or agencies of the United States;

                 pursuant to 28 U.S.C. § 1391(e)(1), an action can be brought in any

                  judicial district in which any defendant in the action resides, and (at

                  a minimum) the defendant federal agencies reside in the District of
                  Columbia, and

                 pursuant to 28 U.S.C. § 1391(e)(1), an action can be brought in any

                  judicial district in which a substantial part of the events or omissions

                  giving rise to the claim occurred, and here Defendants carry out a

                  continuous and systematic portion of their business in this District,

                  including where the unlawful administration of federal funds by

                  Defendants.

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                                     Parties

      7.    Plaintiff Kelly Easter is a resident of Nashville, Tennessee and a

federal taxpayer. Kelly has attempted to apply to be a foster parent for a child or

children in a federally funded child-welfare program. But because she is a lesbian,

she has not been permitted to do so on the same terms as a non-gay person because

the program is administered in a discriminatory manner, based on certain religious

beliefs to which she does not subscribe and that fail to serve the best interests of

children.

      8.    Kelly suffered the harms alleged in this Complaint when organizations

receiving federal funds to administer one or more federal programs denied her equal

opportunity to be a foster parent based on the organizations’ religious beliefs

regarding her sexual orientation and sex. Defendants enabled such discrimination

against Kelly, and they failed to implement adequate safeguards to prevent such

discrimination.

      9.    Kelly brings suit against Defendant United States Department of

Health and Human Services (“HHS”), which is headquartered in the District of

Columbia, and is charged with enhancing and protecting Americans’ health and well-

being via the provision of health and human services. HHS is the federal agency that

is responsible for overseeing the Office of Refugee Resettlement’s functions and

responsibilities involving the care and custody of children under the UC Program

(Unaccompanied Children Program).




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       10.   Kelly brings suit against Defendant Xavier Becerra in his official

capacity as Secretary of the United States Department of Health and Human

Services. In that capacity, Defendant Becerra oversees the HHS.

       11.   Kelly brings suit against Defendant Administration for Children

and Families (“ACF”), which is headquartered in the District of Columbia, and is

the operational division of HHS that is responsible for implementing certain human

services programs, including those focused on fostering the economic and social

welfare of children and families, such as the UC Program administered by the Office

of Refugee Resettlement.

       12.   Kelly brings suit against Defendant JooYeun Chang in her official

capacity as Acting Assistant Secretary for ACF. In that capacity, Defendant Chang

oversees the ACF.

       13.   Kelly brings suit against Defendant Office of Refugee Resettlement

(“ORR”), which is headquartered in the District of Columbia, and is the office within

ACF that is responsible for the care and custody of children in the UC Program.

       14.   Kelly brings suit against Defendant Cindy Huang in her official

capacity as Director of the ORR. In that capacity, Defendant Huang oversees the

ORR.

                               Factual Allegations

The Unaccompanied Children Program

       15.   The federal government currently cares for thousands of unaccompanied

refugee children, many of whom are fleeing violence.



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         16.   When a child apprehended by a federal agency is under the age of 18,

has no available parent or legal guardian in the United States to provide care and

custody, and has no lawful immigration status, the child is transferred to the care

and custody of ORR while awaiting immigration proceedings.

         17.   Unaccompanied children have many reasons for undertaking the

difficult journey of traveling to the United States, which may include rejoining family

already here, escaping violent communities or abusive family relationships in their

home countries, or finding work to support their families. Because of their age, their

separation from parents and relatives, and the hazardous journeys they often take,

unaccompanied children are vulnerable to human trafficking, exploitation, and

abuse.

         18.   ORR exercises a uniquely federal governmental function by placing

unaccompanied children in the least restrictive setting that is in the best interests of

the child, taking into consideration danger to self, danger to the community, and risk

of flight. ORR is responsible for considering each child’s unique situation and

incorporating child-welfare principles when making placement, clinical, case-

management, and release decisions that are in the best interest of the child. ORR’s

responsibilities under the UC Program include awarding and administering grants

to and entering into cooperative agreements with child-welfare organizations to

perform child-welfare services on ORR’s behalf and ensuring that these organizations

abide by applicable federal laws in providing the federally funded services.




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      19.    Through grants to and cooperative agreements with child-welfare

organizations, ORR provides services to the children in its custody, including shelter,

foster care, and residential placement. ORR is charged with guaranteeing that the

best interests of the children are paramount in implementing its child-welfare

programs. The child-welfare organizations are charged with, among other things,

matching children in their care with qualified families in accordance with ORR’s

standards of care.

      20.    Religiously affiliated organizations are among the providers of federally

funded care for children under the UC Program. Although the organizations that

receive federal grants and enter cooperative agreements under this program may be

faith-based organizations, they may not use federal funds to proselytize or for other

religious purposes, such as restricting access to federally funded child-welfare

services based on faith-based principles.

      21.    ORR has an obligation to ensure that the organizations that receive

grants or enter cooperative agreements to provide federal child-welfare services

relating to unaccompanied refugee children in its custody do so without

discriminating against foster-parent applicants based on their sexual orientation,

their sex, or the religious beliefs of the organizations.

      22.    There are more children in the care of Defendants under the UC

Program than there are eligible foster homes available for placement of such children.

      23.    There is no valid reason for the government, or child-welfare

organizations, to prefer heterosexual people over LGBTQ people when considering or



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approving would-be foster parents or making placement decisions. The scientific

community has reached consensus that children reared by lesbian, gay, or bisexual

parents are just as likely to be well-adjusted as children of heterosexual parents. This

consensus has been recognized by every major professional organization dedicated to

children’s health and welfare, including: the American Academy of Pediatrics, the

American Psychological Association, the American Medical Association, the National

Association of Social Workers, and the Child Welfare League of America. There is no

basis in social science or child-welfare principles for categorically barring LGBTQ

people from being foster parents.

      24.    Excluding capable prospective foster parents because of their sexual

orientation and sex is contrary to well-established professional child-welfare

standards. Those standards seek to maximize the number of placement options for

vulnerable children, focus exclusively on ensuring that placements serve the

children’s best interests, and concentrate on a prospective foster parent’s capacity to

meet the needs of the children.

      25.    When Defendants enable organizations to turn away or establish

qualifications that limit the pool of foster-parent applicants based on criteria

generally unrelated to child welfare—such as an applicant’s sexual orientation and

sex, or the religious beliefs of the organizations—the number of potential homes for

children is reduced.

      26.    These sorts of invidious exclusions that reduce the number of placement

options for children in this way cause harm to children in ORR’s custody and care by



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increasing the chances they will remain in group homes or shelters and decreasing

the chances that those children will be placed in a nurturing home, thereby also

increasing the risk that they will experience long-term adjustment difficulties.

        27.   Exclusions that reduce the number of placement options for children

may also result in placing children with less suitable parents who are unable to meet

the children’s individualized needs, causing harm to children in ORR’s custody and

care.

        28.   Excluding prospective foster parents who may identify as LGBTQ, for

example, may specifically cause harm to some LGBTQ children in ORR’s custody and

care. For these children, foster parents who share their identity may be a preferred

placement. These children also may be stigmatized and hurt by learning that the very

organizations responsible for their welfare would deem them to be unsuitable foster

parents when they grow up.

        29.   When Defendants enable organizations to turn away or establish

different procedures for qualified foster-parent applicants based on the applicant’s

sexual orientation and sex, or the religious beliefs of the organizations themselves, it

deters LGBTQ people from participating in the child-welfare system as a whole

because of fear of further discrimination. This, in turn, further reduces placement

options for children in need of foster parents.

        30.   These exclusions, and especially, as here, the direct experience of being

rejected based solely on sexual orientation and sex, may prevent LGBTQ people from

participating in the child-welfare system entirely, even if other agencies might



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potentially be willing to work with them. For example, other agencies may be too far

away or may not otherwise be appropriate for the prospective foster parent’s

circumstances.



United States Conference of Catholic Bishops

        31.   To fulfill their responsibilities under the UC Program, the Defendants

engage child-welfare organizations that operate under cooperative agreements,

grants, and contracts funded by federal taxpayers. The United States Conference of

Catholic Bishops (“USCCB”) and its subgrantees are among those who provide such

federal child-welfare services for unaccompanied refugee children in the Nashville

area under the UC Program.

        32.   As a grantee of ORR, USCCB is charged with determining placements

for children under the UC Program, among other responsibilities.

        33.   USCCB receives millions of dollars in grants from ORR annually under

the UC Program. ORR authorizes USCCB to use those funds to award subgrants to

other   organizations,   including   its   subgrantee   Bethany   Christian   Services

(“Bethany”), to perform services for children in the Nashville area under the UC

Program.

        34.   Until very recently, USCCB was the sole or primary source of funding

for Bethany’s services for children under the UC Program.

        35.   USCCB and its subgrantees apply their own religious criteria in

providing these federally funded governmental services when accepting applications



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from prospective foster parents, including religious requirements that discriminate

against prospective foster parents on account of their sexual orientation and sex.

      36.    Upon information and belief, in its UC grant application for the relevant

period, USCCB informed ORR that USCCB will ensure that services provided under

this application are not contrary to the authentic teaching of the Catholic Church, its

moral convictions, and religious beliefs.

      37.    Upon information and belief, USCCB also notified ORR in its UC grant

application that it would require subgrantees to ensure that services provided to

those served under its agreement are not contrary to the authentic teaching of the

Catholic Church, its moral convictions, and religious beliefs.

      38.    When ORR awarded the UC grants to USCCB for the relevant period, it

did not prohibit USCCB from administering the grants based on religious

considerations as set forth in USCCB’s grant applications that would discriminate

against applicants on the basis of sexual orientation or sex. Nor did ORR implement

any other safeguards to prevent USCCB from discriminating on the basis of sexual

orientation or sex.

      39.    USCCB’s UC grant applications for prior periods contained similar

statements of intent with respect to religiously motivated administration of the

grants, and ORR similarly did not implement adequate safeguards to prevent USCCB

from limiting the program to serving what USCCB determined to be Catholic

religious doctrine.




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      40.    In numerous contexts, USCCB publicly advocates against parenting of

children by same-sex couples. For example, USCCB Fact Sheets concerning adoption

and foster-care services, which have appeared on USCCB’s website since at least

2013, state that, “[w]hen placing children with couples, Catholic Charities ensures

those children enjoy the advantage of having a mother and a father who are married.”

Discrimination Against Catholic Adoption Services, USCCB, https://bit.ly/2YFWwuy

(last visited September 28, 2021).

      41.    Another section on USCCB’s website entitled “Frequently Asked

Questions About the Defense of Marriage” states, and stated at all times during the

relevant period, that “[p]lacing a child in the care of two men or two women may be

well-intentioned, but ultimately deprives the child of that which best serves his or

her interests—a mother and a father.” Frequently Asked Questions About the Defense

of Marriage, USCCB, https://bit.ly/3DyeDlf (last visited September 28, 2021).

      42.    Upon information and belief, USCCB has lobbied for the passage of laws

that would allow child-welfare organizations that receive federal funds for adoption

and foster-care services to declare overtly, without fear of adverse governmental

action, that, based on their religious beliefs, they limit adoption and foster-care-

placement opportunities to heterosexual married couples comprising one man and

one woman.

      43.    Defendants were on notice when they awarded the UC grants for the

relevant period to USCCB that USCCB and its subgrantees, including Bethany,




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would administer the grants in a discriminatory manner based on USCCB’s religious

beliefs, including its religious beliefs disfavoring LGBTQ people as parents.

      44.    Defendants failed to implement adequate safeguards to prevent USCCB

and its subgrantees, including Bethany, from administering the UC grants in a

discriminatory manner based on USCCB’s religious beliefs.

      45.    Defendants have failed to take any corrective action after Kelly notified

them that USCCB and its subgrantee had discriminated against her under federal

programs administered by Defendants.

      46.    Defendants unlawfully use federal taxpayer dollars to finance grants to

USCCB to implement the UC Program based on impermissible religious criteria.

      47.    Defendants are required to administer grants and cooperative

agreements in a manner that ensures that federal funding is expended, and

associated federal programs are implemented, in accordance with the constitutional

guarantees of equality and liberty, the strictures of the Establishment Clause, and

applicable statutory and regulatory requirements, including those prohibiting

discrimination.

      48.    In furtherance of both constitutional requirements and national agency

policy, HHS regulations require that no person otherwise eligible be excluded from

participation in, denied the benefits of, or subjected to discrimination in the

administration of HHS programs and services based on non-merit-based factors such

as sexual orientation, sex, or religion. See 45 C.F.R. § 75.300(c) (2016). They further

require that the marriages of same-sex couples be treated as valid. See 45 C.F.R. §



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75.300(d) (2016). These requirements apply to all HHS grantees and subgrantees,

including USCCB and its subgrantees.


      Kelly Easter Seeks to Foster an Unaccompanied Refugee Child

      49.    Kelly Easter was raised in Knoxville, Tennessee. For nearly a decade,

Kelly has worked as a realtor serving the greater Nashville area. She is a Christian

woman who lives alone in a two-bedroom home in a East Nashville neighborhood.

      50.    Kelly’s experiences with children of close friends and family sparked her

interest in fostering an unaccompanied refugee child. She has completed training

courses to become a foster parent and intends to convert the spare bedroom in her

home into a child’s bedroom upon acceptance as a foster parent.

      51.    Kelly was struck by news coverage of the plight of refugee children

arriving unaccompanied in the United States. She thus sought information from ORR

about the foster-care programs on ORR’s website. On or about August 2020, she

submitted an e-mail inquiry and received an e-mail less than one month later

informing her that her contact information had been forwarded to USCCB. The e-mail

included a link directing her to foster-care programs in her area. The USCCB affiliate

in Tennessee is Bethany Christian Services.

      52.    On or about September 1, 2020, Kelly called Bethany and left a voice

message expressing interest in the unaccompanied-minor foster program. Shortly

thereafter, she received a call from a recruitment and training coordinator at

Bethany. The coordinator encouraged Kelly to join a transitional fostering orientation

to be held by Zoom videoconference.

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      53.    The Bethany representative sent Kelly two follow-up e-mails. The first

thanked Kelly for her “heart to serve children in need,” and expressed that it was

“wonderful speaking with you on the phone!” The e-mail also included the Zoom link,

with a note that she would “[s]ee you tomorrow on Zoom!” The second follow-up

e-mail, sent the morning after the telephone call, reiterated that it was “great

speaking with you yesterday!” and reminded Kelly of the virtual orientation and

Zoom link. The e-mail signature of the Bethany representative featured the

organization’s contact information and a quote: “Every kid is one caring adult away

from being a success story.”

      54.    After speaking with the Bethany representative, however, Kelly grew

concerned that she would be prevented from fostering a child through the program

because she is a lesbian, and so she began to further research the organization.

Because the UC Program was a government program, Kelly did not think that

Bethany could lawfully discriminate against her. As she did more research, however,

she learned that Bethany had a policy of refusing to work with LGBTQ people. Kelly

replied to the representative’s e-mail: “After we hung up, I was so inspired and

emotional yesterday at the thought that I might be able to help one or more of the

children in your care,” she wrote. She underscored how eager she was to foster but

expressed deep concern that a gay person—even a Christian gay person—would not

be allowed to participate in the program. “I was really hurt to discover this …

honestly, I was heartbroken,” Kelly wrote. She then asked if there might be an

exception to the policy because the program is federally funded.



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      55.    Kelly did not hear back from Bethany for more than two weeks.

      56.    On September 21, 2020, Kelly sent a follow-up e-mail reaffirming her

interest in participating in the foster-care program.

      57.    Shortly after that, Kelly received a call from the Bethany representative.

The representative confirmed the concerns that Kelly expressed in her e-mail and

stated that Kelly could not participate in the ORR’s unaccompanied-minor programs

because she is gay. Bethany is bound by USCCB policy, the representative said, so

Kelly would not be able to move forward in the process.

      58.    On January 22, 2021, Kelly sent an email to two general ORR e-mail

addresses, reporting that Bethany had discriminated against her by declining to

permit her to foster an unaccompanied refugee child because she is gay. Kelly’s e-mail

asked whether that discrimination by a recipient of federal funding was permissible.

She did not receive a response to her e-mail until February 7, 2021, when ORR e-

mailed Kelly, asking her to reaffirm her continued interest in participating in the

foster program and stating that they were “looking into this.”

      59.    On February 9, 2021, Kelly sent an e-mail to ORR reaffirming her

continued interest in participating in the program.

      60.    She received an e-mail response on February 11, 2021, thanking her for

her patience. She has not received any further communication from ORR since then.

      61.    On March 1, 2021, The New York Times published an article reporting

that Bethany was changing the policy that previously excluded lesbian and gay

individuals from participating in their foster programs.



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      62.    Overjoyed at learning of Bethany’s changed policy, Kelly sent an e-mail

to the Bethany representative a day later, with the article included as an attachment.

Kelly asked if the policy change meant that she would now be able to apply for the

foster-care program.

      63.    The Bethany representative responded the same day, stating that she

had read the article and had “immediately reached out to leadership for guidance.”

Three days later, the representative sent Kelly an e-mail apologizing for the delay

and informing Kelly that “[Bethany] and USCCB met this week and are still working

through the policy to come up with an agreement.”

      64.    After not hearing from the Bethany representative for more than a

week, Kelly sent a follow-up e-mail on March 15, 2021, requesting an update. Kelly

mentioned that she had completed the required training courses for foster parenting.

      65.    On March 16, 2021, the Bethany representative again apologized for the

delay and said that she had “not been updated on if an agreement ha[d] been made

between Bethany and USCCB.”

      66.    On April 26, 2021, Kelly received an e-mail from the Bethany

representative, letting her know that they were finalizing contracts for a new location

for their program, and once those were in place, they could “begin recruiting all types

of families to serve unaccompanied [refugee] children.”

      67.    On June 24, 2021, Kelly received another e-mail from the Bethany

representative, telling her that Bethany had signed a contract with Lutheran

Immigration and Refugee Service (“LIRS”), which would allow Kelly to begin the



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process of becoming a foster parent with Bethany. She included an application for

Kelly to fill out if she was interested and gave Kelly information about upcoming

trainings.

      68.    Kelly e-mailed back the next day, asking the Bethany representative to

clarify whether this new program with LIRS was through the federal programs for

refugee children, and whether, if she were licensed through the new program, she

would be eligible to foster any children in those federal programs in Nashville

regardless of her sexual orientation.

      69.    The Bethany representative wrote back on July 2, 2021, confirming that

the new program with LIRS works solely with unaccompanied refugee children, and

telling Kelly in what would prove to be a deceptively promising way, “The only reason

you were not able to move forward with our TFC program in East Nashville is because

we are under USCCB. Now we have a new LIRS program that will allow all families

to foster refugee children including LGBTQ+ families.”

      70.    On July 16, 2021, Kelly received an additional e-mail from a different

Bethany representative, who introduced herself as the new recruiting and licensing

specialist with Bethany’s new site opening in September. She provided some

additional details of how Bethany’s program offers temporary care for unaccompanied

minors crossing the border and invited Kelly to submit an application.

      71.    Kelly submitted an application to Bethany in or about the beginning of

August 2021. She was scheduled for a home-study appointment on August 24.




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      72.    On or about August 12, 2021, Kelly received a call from Bethany, telling

her that, because she is LGBTQ, she could not participate in Bethany’s program

through the East Nashville office near her home but would instead have to be

assigned to Bethany’s Smyrna office, which is a half hour away from her home. A

foster child living with Kelly would need to go to the Bethany’s Smyrna office twice a

day every weekday, which would require Kelly and the child to be in the car at least

two hours a day—something she could not do with her work schedule. When Kelly

asked why she could not participate in East Nashville much closer to her home, the

Bethany representative explained that USCCB funds the East Nashville office and

LIRS funds the Smyrna office.

      73.    On August 18, 2021, the Bethany representative e-mailed Kelly to follow

up, telling her that there are no alternative transportation options for getting any

children in her care to the Smyrna office and that Kelly would have to provide the

necessary transportation herself. The Bethany representative said she would be in

touch if there were any changes, and that she wished there were more that she could

do to make Kelly’s participation in the program work.

      74.    Because USCCB will not permit Kelly to participate in the UC Program

in East Nashville on the basis that she is a lesbian, Kelly has effectively been

excluded from participation in the UC Program.

      75.    By preventing children under their care and custody from being placed

in homes of LGBTQ people based on USCCB’s religious beliefs, the Defendants—

through USCCB and its subgrantees—not only discriminate against LGBTQ people,



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but also effectively disregard the non-Catholic identities and beliefs of many of the

unaccompanied refugee children for whom they are responsible. This conduct

potentially increases those children’s alienation and vulnerability, while denying

them access to loving homes that could serve them best—all at federal taxpayers’

expense.

      76.    By preventing children under their care and custody from being placed

in homes of LGBTQ people based on USCCB’s religious beliefs, the government

(through USCCB and its subgrantees) disserves and demeans LGBTQ children for

whom they are responsible, stigmatizing them as less deserving and less worthy of

respect than other children. The government’s actions send them the message that,

when they grow up to form families of their own, they and their families are inferior

to other families and will not have a right to equal treatment in the provision of

government services.

      77.    Defendants were on notice at the time that they awarded the UC

Program grants for the relevant period to USCCB that USCCB and its subgrantees,

including Bethany, would administer the federal program in a discriminatory

manner based on USCCB’s religious beliefs, including its religious beliefs disfavoring

LGBTQ people as parents. Yet Defendants did not implement adequate safeguards

to prevent USCCB or its subgrantees, including Bethany, from doing so. As a result,

Defendants violated the United States Constitution.

      78.    USCCB and its subgrantees used federal funds provided by Defendants

to discriminate against Kelly based on USCCB’s religious beliefs.



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        79.   Defendants were on notice that USCCB and its subgrantee had turned

Kelly away because of her sex and sexual orientation based on USCCB’s religious

beliefs. Rather than remedy that discrimination, Defendants sanctioned the

segregation of LGBTQ prospective foster parents into an alternate program,

regardless of whether that program met the needs of and was an appropriate fit for

those families. Defendants have thus sanctioned and facilitated continued

discrimination against LGBTQ prospective foster parents in further violation of the

Constitution.

        80.   Additionally, Defendants have sanctioned USCCB’s continuing refusal

to allow children in its care to be fostered by LGBTQ individuals regardless of

whether it would serve the best interest of the child to be placed with an LGBTQ

foster parent.

        81.   By providing federal funds to USCCB, Defendants have enabled the

discrimination by USCCB and its subgrantee against Kelly Easter, who has been

denied the opportunity to foster a child under the UC Program in Nashville based on

impermissible religious considerations.


                             CLAIMS FOR RELIEF
                                    Count I
                   (First Amendment – Establishment Clause)
                              U.S. Const. amend I

        82.   Plaintiffs reincorporate the foregoing allegations as if fully set forth

here.




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      83.    The Establishment Clause of the First Amendment to the United States

Constitution forbids the government from favoring one religion over another, or

religion over nonreligion.

      84.    In violation of the Establishment Clause, Defendants have delegated to

USCCB and its subgrantees the responsibility for providing foster-care services to

children in federal custody, including the tasks of recruiting, screening, and training

prospective foster parents, while authorizing and allowing the organizations to

perform those functions in a religiously discriminatory manner.

      85.    Also in violation of the Establishment Clause, Defendants have provided

and continue to provide federal funds to USCCB and its subgrantees, which

discriminate based on religion in recruiting and training foster parents and in

determining foster-care placements for refugee children entrusted to the ORR’s care.

      86.    Defendants have also violated the Establishment Clause of the First

Amendment because, among other reasons, Defendants’ actions, policies, practices,

and procedures regarding the UC Program:

      a)     have the primary purpose of favoring, preferring, and endorsing certain

             religious beliefs and certain religious denominations over others and

             over nonreligion;

      b)     have the primary effect of favoring, preferring, and endorsing certain

             religious beliefs and certain religious denominations over others and

             over nonreligion;




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c)   have the purpose of preferring the religious beliefs of some people and

     institutions over the religious beliefs and fundamental rights of others;

d)   have the effect of preferring the religious beliefs of some people and

     institutions over the religious beliefs and fundamental rights of others;

e)   endorse the religious beliefs of faith-based child-welfare organizations;

f)   entangle government with religion;

g)   are not neutral among religious denominations and beliefs or between

     religion and nonreligion;

h)   delegate governmental authority to child-placement organizations such

     that the agencies can and do create religious requirements for gaining

     access to or participating in governmental programs, services, and

     resources;

i)   cede control over governmental decisions and actions to a religious

     organization that can, and in fact does, make decisions and take actions

     in accordance with and in service of its religious beliefs;

j)   fund child-placement organizations with federal taxpayer money that

     the organizations put to religious and discriminatory uses;

k)   make third parties—such as Kelly Easter, other prospective foster

     parents, and children in foster care—bear the costs, harms, and burdens

     of faith-based child-placement organizations’ religious beliefs and

     religious practices;




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        l)    coerce prospective foster parents to affirm and adhere to the specific

              religious beliefs of faith-based child-placement organizations in order to

              become a foster parent and thereby participate in or partake of

              government-funded services through the organization; and

        m)    permit USCCB and its subgrantees to coerce vulnerable and

              impressionable children in ORR’s care that have been assigned to faith-

              based child-placement organizations into believing and practicing the

              organizations’ preferred faiths, without regard to the children’s or their

              biological parents’ own faiths.

        87.   Through the actions described above, Defendants have violated the

Establishment Clause of the First Amendment to the United States Constitution. As

a result, Kelly has been injured and is entitled to relief.

                                    Count II
                     (Fifth Amendment – Equal Protection)
                              U.S. Const. amend V

        88.   Plaintiff reincorporates the foregoing allegations as if fully set forth

here.

        89.   The Due Process Clause of the Fifth Amendment to the United States

Constitution prohibits the federal government from denying equal protection of the

laws.

        90.   Defendants    have    discriminated    and      continue   to   discriminate

impermissibly against individuals, including Kelly, based on religion, sexual

orientation, and sex, by funding the administration of services that they are on notice

are being administered in a manner that disfavors and excludes LGBTQ people.
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      91.    Defendants have deprived and continue to deprive individuals,

including Kelly, of equal dignity, liberty, and autonomy, and brand them as inferior

by discriminating against them based on religion, sexual orientation, and sex.

      92.    Discrimination based on religion, sexual orientation and sex is

presumptively unconstitutional and subject to heightened scrutiny.

      93.    There is no constitutionally adequate justification for Defendants’

actions.

      94.    Defendants’ actions fail to advance even any legitimate governmental

interest, let alone the exceedingly persuasive one required. On the contrary, allowing

and enabling use of religious criteria for participation in a federal program to care for

children in the legal custody and care of the government is antithetical to Defendants’

responsibility to ensure that the best interests of the children drive their placement.

      95.    Defendants’ actions harm LGBTQ people who wish to become foster

parents, including Kelly.

      96.    Defendants’ actions harm children in the government’s custody who are

awaiting placement with a foster parent and are either denied placement with a

foster parent or delayed in being placed with a foster parent because Defendants’

actions permit qualified and capable foster parents who would provide a nurturing

home to be denied the opportunity to be foster parents.

      97.    Through the actions described above, Defendants have deprived and

continue to deprive Kelly of her rights protected by the equal protection guarantee of

the Fifth Amendment to the United States Constitution.



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                               PRAYER FOR RELIEF

       WHEREFORE, Plaintiff respectfully requests that this Court grant the

following relief:

       A.     Enter a declaratory judgment that Defendants’ failure to ensure that

Kelly may apply to be a foster parent to a child under the UC Program through

Defendants’ grantee USCCB without consideration of religious or other criteria that

disfavor her based on her sexual orientation or sex violates the First and Fifth

Amendments to the United States Constitution.

       B.     Enter a declaratory judgment that Defendants’ actions in enabling,

sanctioning, ratifying, or failing to implement adequate safeguards against the use

of religious or other criteria disfavoring LGBTQ people to determine who may

participate in the UC Program violates the First and Fifth Amendments to the United

States Constitution.

       C.     Issue a permanent injunction requiring Defendants to ensure that Kelly

and other LGBTQ persons may become a foster parent to a child under the UC

Program on equal terms relative to non-gay applicants and to give equal and fair

consideration to Kelly’s application and the applications of other LGBTQ persons

without consideration of religious or other criteria that disfavor her based on her

sexual orientation and sex.

       D.     Issue    a   permanent   injunction   prohibiting   Defendants   in   the

administration of the UC Program from enabling, sanctioning, ratifying, or failing to

implement adequate safeguards against the use of religious or other criteria to



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exclude or discourage foster parent applicants based on their sexual orientation and

sex, including, if necessary to achieve those ends, prohibiting Defendants from

awarding UC grants to USCCB.

      E.      Award Plaintiff her reasonable costs and attorney’s fees.

      F.      Grant any other and further relief that this Court may deem fit and

proper.

                                        Dated: October 13, 2021




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                            Respectfully submitted,




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